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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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DANE BUCHANAN, JAMES CHRISTOPHER                                   21-Cv-660 (SHS)
DUERR, NICOLE NAPOLITANO, and
WINSOME THEL WELL,

                                   Plaintiffs,
                  -v-                                              ORDER

JONATHAN DARCHE, in his official capacity,

                                   Defendant.
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SIDNEY H. STEIN, U.S. District Judge.

                 The Court having been notified that this matter has settled,

                 IT IS HEREBY ORDERED that this action is dismissed with prejudice and
without costs; provided, however, that within 60 days of the date of this Order any party may
reinstate this action in writing if the settlement has not been effectuated by then.


Dated: New York, New York
       May 31, 2022
